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  8                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
  9
 10   SUSAN NASH,                             )   Case No.: 5:20-cv-01081-RAO
                                              )
 11               Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
 12         vs.                               )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   KILOLO KIJAKAZI,                        )   AND COSTS PURSUANT TO 28
      Acting Commissioner of Social           )   U.S.C. § 1920
 14   Security,                               )
                                              )
 15               Defendant                   )
                                              )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal

 18   Access to Justice Act Fees, Costs, and Expenses:

 19         IT IS ORDERED that fees and expenses in the amount of $4,000.00 as

 20   authorized by 28 U.S.C. § 2412, and costs in the amount of $36.25 as authorized

 21   by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.

 22   DATE: September 29, 2021

 23                                   ___________________________________
                                      HONORABLE ROZELLA A. OLIVER
 24                                   UNITED STATES MAGISTRATE JUDGE

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